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            EXHIBIT B
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Date              Description
December 21, 2024 In a Statement to the New York Times, which was later published by various
                  different media outlets, Mr. Freedman stated:

                        It is shameful that Ms. Lively and her representatives would
                        make such serious and categorically false accusations against
                        Mr. Baldoni, Wayfarer Studios and its representatives, as yet
                        another desperate attempt to 'fix' her negative reputation which
                        was garnered from her own remarks and actions during the
                        campaign for the film; interviews and press activities that were
                        observed publicly, in real time and unedited, which allowed for
                        the internet to generate their own views and opinions.

                        These claims are completely false, outrageous and intentionally
                        salacious with an intent to publicly hurt and rehash a narrative
                        in the media. Wayfarer Studios made the decision to proactively
                        hire a crisis manager prior to the marketing campaign of the
                        film, to work alongside their own representative with
                        Jonesworks employed by Stephanie Jones, due to the multiple
                        demands and threats made by Ms. Lively during production
                        which included her threatening to not showing up to set,
                        threatening to not promote the film, ultimately leading to its
                        demise during release, if her demands were not met.

                        It was also discovered that Ms. Lively enlisted her own
                        representative, Leslie Sloan with Vision PR, who also represents
                        Mr. Reynolds, to plant negative and completely fabricated and
                        false stories with media, even prior to any marketing had
                        commenced for the film, which was another reason why
                        Wayfarer Studios made the decision to hire a crisis professional
                        to commence internal scenario planning in the case they needed
                        to address.

                        The representatives of Wayfarer Studios still did nothing
                        proactive nor retaliated, and only responded to incoming media
                        inquiries to ensure balanced and factual reporting and monitored
                        social activity.

                        What is pointedly missing from the cherry-picked
                        correspondence is the evidence that there were no proactive
                        measures taken with media or otherwise; just internal scenario
                        planning and private correspondence to strategize which is
                        standard operating procedure with public relations
                        professionals.
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                    See Read the Statement: Statement to The New York Times from Bryan
                    Freedman, attorney for Justin Baldoni, Wayfarer Studios and all its
                    representatives,    N.Y.      Times       (December       21,       2024),
                    https://www.nytimes.com/interactive/2024/12/21/us/statement-to-the-new-
                    york-times.html.

December 23, 2024 In a statement released to The Hollywood Reporter and other media outlets,
                  Mr. Freedman stated:

                        TAG PR operated as any other crisis management firm would
                        when hired by a client experiencing threats by two extremely
                        powerful people with unlimited resources. The standard
                        scenario planning TAG PR drafted proved unnecessary as
                        audiences found Lively’s own actions, interviews and
                        marketing during the promotional tour distasteful, and
                        responded organically to that which the media themselves
                        picked up on. It’s ironic that The New York Times, through their
                        effort to ‘uncover’ an insidious PR effort, played directly into
                        the hands of Lively’s own dubious PR tactics by publishing
                        leaked personal text exchanges that lack critical context – the
                        very same tactics she’s accusing the firm of implementing.

                    See James Hibberd, Justin Baldoni’s Publicist Breaks Silence, Defends
                    Leaked Texts About Blake Lively, The Hollywood Reporter (December 23,
                    2024, 12:10 PM), https://www.hollywoodreporter.com/movies/movie-
                    news/justin-baldoni-blake-lively-jennifer-abel-leaked-texts-1236093044/.

December 28, 2024 In a statement released to Deadline and other media outlets, Mr. Freedman
                  stated:

                        I am not going to speak to when or how many lawsuits we are
                        filing but when we file our first lawsuit, it is going to shock
                        everyone who has been manipulated into believing a
                        demonstrably false narrative. It will be supported by real
                        evidence and tell the true story. In over 30 years of practicing,
                        I have never seen this level of unethical behavior intentionally
                        fueled through media manipulation. It reminds me of what
                        NBC tried to do to Megyn Kelly and Gabrielle Union and we
                        all know how that ended up. Standby.

                    See Caroline Frost & Dominic Patten, Justin Baldoni Countersuit Against
                    Blake Lively Will “Shock Everyone,” Lawyer Declares; Lively PR Rep Calls
                    Out “False” Allegations Of Planted HR Stories – Update, Deadline
                    (December 28, 2024, 5:47 AM), https://deadline.com/2024/12/blake-lively-
                    justin-baldoni-it-ends-with-us-legal-complaint-counter-suit-1236243155/.


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December 31, 2024 In a statement released to USA Today, and published by various other media
                  outlets, Mr. Freedman stated:

                        In this vicious smear campaign fully orchestrated by Blake
                        Lively and her team, the New York Times cowered to the wants
                        and whims of two powerful ‘untouchable’ Hollywood elites,
                        disregarding journalistic practices and ethics once befitting of
                        the revered publication by using doctored and manipulated texts
                        and intentionally omitting texts which dispute their chosen PR
                        narrative.

                        In doing so, they pre-determined the outcome of their story, and
                        aided and abetted their own devastating PR smear campaign
                        designed to revitalize Lively’s self-induced floundering public
                        image and counter the organic groundswell of criticism amongst
                        the online public. The irony is rich.

                        Make no mistake however, as we all unite to take down the NY
                        Times by no longer allowing them to deceive the public, we will
                        continue this campaign of authenticity by also suing those
                        individuals who have abused their power to try and destroy the
                        lives of my clients. While their side embraces partial truths, we
                        embrace the full truth - and have all of the communications to
                        back it. The public will decide for themselves as they did when
                        this first began.

                    See Pamela Avila, Justin Baldoni files $250M lawsuit against New York
                    Times over Blake Lively claims, USA Today (January 2, 2025, 7:25 PM),
                    https://www.usatoday.com/story/entertainment/celebrities/2024/12/31/justin-
                    baldoni-sues-new-york-times-blake-lively-accusations/77364901007/.

January 3, 2025     During an on-camera interview with NBC Nightly News, Mr. Freedman stated,
                    among other things:

                        …I am more than willing to take every single text message that
                        exists out there. Lay them out. Put them on a website for the
                        world to see…Have them see the truth and determine the truth
                        for themselves…

                    See Liz Kreutz, Saba Hamedy & Kalhan Rosenblatt, Justin Baldoni's attorney
                    blasts New York Times story about Blake Lively 'smear campaign' story, NBC
                    News (January 3, 2025, 9:46 AM), https://www.nbcnews.com/pop-
                    culture/pop-culture-news/justin-baldonis-attorney-blasts-new-york-times-
                    blake-lively-story-rcna186064.




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January 7, 2025   In a statement released to People and other media outlets, Mr. Freedman
                  stated:

                      It is painfully ironic that Blake Lively is accusing Justin Baldoni
                      of weaponizing the media when her own team orchestrated this
                      vicious attack by sending the New York Times grossly edited
                      documents prior to even filing the complaint.

                      We are releasing all of the evidence which will show a pattern
                      of bullying and threats to take over the movie. None of this will
                      come as a surprise because consistent with her past behavior
                      Blake Lively used other people to communicate those threats
                      and bully her way to get whatever she wanted. We have all the
                      receipts and more.

                  See Jen Juneau & Elizabeth Rosner, Justin Baldoni's Lawyer Vows to Release
                  'Evidence' of Blake Lively's 'Pattern of Bullying': 'We Have the Receipts',
                  People (January 7, 2025, 12:39 PM), https://people.com/justin-baldoni-
                  lawyer-promises-to-release-evidence-blake-lively-bullying-8770498.

January 7, 2025   During an on-camera appearance on The Megyn Kelly Show, Mr. Freedman
                  made the following statements, among others, which have been excerpted
                  from his full interview:

                      Blake Lively was no victim here. She was in control, she was
                      in power. And she took over this Film.
                      …
                      [Ms. Lively] used these allegations of sexual harassment, and
                      she used these allegations of bullying to try and leverage her
                      position so that she could be the de facto director in the case.
                      …
                      I mean, you know, since I've been involved in this case I've
                      gotten 50 either texts or emails or you know, things to my firm's
                      website. You know, more than 50 actually, about this was my
                      experience with Blake Lively. You know, we weren't allowed
                      to talk to her on the set. We weren't allowed to ask for an
                      autograph. We were, you know, instructed, you know, this way
                      or that we were treated like this, I mean and you know, these
                      things aren't coming because we're doing an investigation, these
                      are completely organic. These are based on people's real life
                      experiences. In fact, you know, we've come across evidence
                      that, you know, shows that that even her own representatives,
                      knew that she was threatening, and mean and tough, and wanted
                      to get her way.
                      …



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                       Let’s break down what the sexual harassment is. I mean, we’ve
                       just been through the Me Too movement. We’ve heard all sorts
                       of serious allegations of sexual harassment that are really
                       meaningful to victims, and and and [sic] really important. And
                       Blake Lively if she was sexually harassed to to [sic] such a
                       degree in this in, this Film, and in this situation, you know, she
                       wouldn't have returned to the Film.
                       …
                       It’s very clear what is being planted. There are evidence [sic]
                       for all of these points. There are text messages for all these
                       points. And unlike any case that I’ve handled in my entire
                       career, it's the one case we're going to put every single text
                       message, every single document, everything on a website for
                       everyone in the public to read, come to their own conclusions.
                       And they can determine whether or not there was sexual
                       harassment here, there was a smear campaign, or there was
                       retaliation because we have proof and receipts that absolutely
                       and unequivocally show this is not true.
                       …

                   See Meg Storm, Exclusive: See Justin Baldoni’s Text Messages with His ‘It
                   Ends with Us’ Editors from Blake Lively Lawsuit, The Megyn Kelly Show
                   (January 7, 2025), https://www.megynkelly.com/2025/01/07/justin-baldoni-
                   text-messages-with-it-ends-with-us-editors-about-blake-lively/.

January 16, 2025   In a statement released to various media outlets, Mr. Freedman stated:

                       This lawsuit is a legal action based on an overwhelming amount
                       of untampered evidence detailing Blake Lively and her team’s
                       duplicitous attempt to destroy Justin Baldoni, his team and their
                       respective companies by disseminating grossly edited,
                       unsubstantiated, new and doctored information to the media.

                       It is clear based on our own all out willingness to provide all
                       complete text messages, emails, video footage and other
                       documentary evidence that was shared between the parties in
                       real time, that this is a battle she will not win and will certainly
                       regret. Blake Lively was either severely misled by her team or
                       intentionally and knowingly misrepresented the truth. Ms.
                       Lively will never again be allowed to continue to exploit actual
                       victims of real harassment solely for her personal reputation
                       gain at the expense of those without power. Let’s not forget,
                       Ms. Lively and her team attempted to bulldoze reputations and
                       livelihoods for heinously selfish reasons through their own
                       dangerous manipulation of the media before even taking any
                       actual legal action. We know the truth, and now the public does

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                       too. Justin and his team have nothing to hide, documents do not
                       lie.

                   See Tommy McArdle & Elizabeth Rosner, Justin Baldoni Sues Blake Lively
                   and Ryan Reynolds for $400 Million Alleging Defamation, Extortion over It
                   Ends With Us, People (January 16, 2025, 2:32 PM),
                   https://people.com/justin-baldoni-sues-blake-lively-ryan-reynolds-8768821.

January 18, 2025   In a statement released to Deadline, and later published by other media outlets,
                   Mr. Freedman stated:

                       After my clients filed a comprehensive lawsuit packed with
                       almost 200 pages of undeniable facts and documentary evidence
                       which crushed their false allegations of a smear campaign by
                       providing doctored communications to the New York Times,
                       Blake and her legal team have just one heinous pivot left, and
                       that is to double down on the revoltingly false sexual allegations
                       against Mr. Baldoni. The mere fact that Ms. Lively feels that
                       she can publicly destroy Mr. Baldoni’s reputation in an attempt
                       to devastate his future career and then deny him or his team their
                       own ability to defend theirselves against her is preposterous.

                       Mr. Baldoni never once publicly attempted to call Ms. Lively
                       out for her own many wrongdoings during filming, he kindly
                       addressed all her concerns during filming in the correct manner
                       despite the fact that he wholly disagreed, he himself was
                       committed to do things differently and to keep the peace as she
                       specifically admitted to in her own lawsuit. We will not only
                       continue to defend our clients against Blake’s power, privilege
                       and all out lies, but we will now fight even harder for the
                       voiceless in the DV community who are unfairly suffering while
                       she continues to push on her own self-serving and selfish
                       vendetta in the media.

                   See Dominic Patten, Justin Baldoni’s Lawyer Decries “Revoltingly False
                   Sexual Allegations” From Blake Lively As Lawsuits Fly; Brands At Business
                   Heart Of Dispute, Deadline (January 18, 2025, 5:44 PM),
                   https://deadline.com/2025/01/blake-lively-justin-baldoni-lawyer-latest-
                   1236260673/.
January 21, 2025   Mr. Freedman released video footage from the production of the Film to Us
                   Weekly and other media outlets. The footage begins with the following
                   statement:

                       Ms. Lively’s complaint alleges that during a scene Mr. Baldoni
                       and Ms. Lively were filming for a slow dance montage, Mr.
                       Baldoni was behaving inappropriately.

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                       The following videos captured on May 23, 2023, clearly refute
                       Ms. Lively’s characterization of his behavior. The scene in
                       question was designed to show the two characters falling in love
                       and longing to be close to one another. Both actors are clearly
                       behaving well within the scope of the scene and with mutual
                       respect and professionalism.

                   See Ruth Styles, Who’s lying, Blake Lively or Justin Baldoni?
                   Shocking It Ends With Us clip reveals the truth about abuse claims,
                   Dailymail.com       (January       21,       2025,      12:11PM),
                   https://www.dailymail.co.uk/tvshowbiz/article-14308745/Blake-
                   Lively-Justin-Baldoni-bombshell-clip-reveals-truth-abusee.html.

January 21, 2025   In a statement released to Us Weekly, alongside the above-referenced video
                   footage, Mr. Freedman and/or his team stated:

                       Us received this video from legal counsel, Bryan Freedman who
                       has gone on record numerous times and told the public that
                       Justin Baldoni and team has nothing to hide and this video, once
                       more proves this. Justin and team have the right to defend
                       themselves with the truth and this is what we will be continuing
                       to show with the upcoming website containing all
                       correspondence as well as relevant videos that directly quash
                       her claims.

                   See Ryan Hudgins, Justin Baldoni’s Lawyer Releases Video of ‘It Ends With
                   Us’ Scene to Try to Disprove Blake Lively, US Weekly (January 21, 2025),
                   https://www.usmagazine.com/entertainment/news/wayfarer-studios-releases-
                   justin-baldoni-blake-lively-slow-dance-scene/.




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